     Case 1:22-cr-00015-APM Document 389 Filed 11/08/22 Page 1 of 4




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         :
                                 :
          v.                     :    Case No. 22-cr-15 (APM)
                                 :
ELMER STEWART RHODES III,        :    UNDER SEAL
KELLY MEGGS,                     :
KENNETH HARRELSON,               :
JESSICA WATKINS,                 :
ROBERTO MINUTA,                  :
JOSEPH HACKETT,                  :
DAVID MOERSCHEL,                 :
THOMAS CALDWELL, and                  :
EDWARD VALLEJO                   :
                                 :
                 Defendants.     :


UNITED STATES OF AMERICA         :        Case No. 21-cr-28 (APM)
                                 :
         v.                      :        UNDER SEAL
                                 :
DONOVAN CROWL,                   :
SANDRA PARKER,                   :
BENNIE PARKER,                   :
LAURA STEELE,                    :
CONNIE MEGGS,                    :
WILLIAM ISAACS,                  :
JAMES BEEKS, and                 :
MICHAEL GREENE,                  :
                                 :
               Defendants.       :


UNITED STATES OF AMERICA         :        Case No. 22-cr-14 (APM)
                                 :
         v.                      :        UNDER SEAL
                                 :
JONATHAN WALDEN,                 :
                                 :
               Defendant.        :
         Case 1:22-cr-00015-APM Document 389 Filed 11/08/22 Page 2 of 4




                       UNDER SEAL NOTICE REGARDING
                  POTENTIAL VIOLATION OF PROTECTIVE ORDER

       The United States of America submits this under seal notice to alert the Court to recent

media reporting that may reflect a violation of a protective order issued by the Court.

       On November 8, 2022, a New York Times article reported previously undisclosed details

regarding a Federal Bureau of Investigation (FBI) Confidential Human Source (CHS) who is a

potential witness to the charges currently pending before this Court against these defendants. See

“Informant Likely to Testify as Defense Witness in Oath Keepers Sedition Trial,” available at

https://www.nytimes.com/2022/11/08/nyregion/oath-keepers-trial-january-6.html. According to

the article, the information was provided to the NY Times by “two people familiar with the matter.”

Id.

       Based on the content of the article, it appears that the reporting is based on government

records and information that are not publicly available but that were produced to defense counsel

in these cases, in camera, pursuant to a protective order addendum, ordered by this Court, on July

8, 2022. The information reported in the NY Times was information about a confidential human

source, where disclosure of such information could compromise sensitive law-enforcement

techniques and witness safety.

       The government has no further information as to how the NY Times learned that Greg

McWhirter, who has been discussed on the public record solely as a witness, is a CHS for the FBI,

or the details of his reporting to the FBI. Because both of these details were disclosed to defense

counsel in this case as “highly sensitive” material subject to the protective order addendum, the

government asks this Court to inquire of defense counsel whether they or anyone on their defense

teams disclosed this information to the NY Times, pursuant to the Court’s power to enforce its

own protective orders. Undersigned government counsel are willing to answer the same inquiries

                                                 2
         Case 1:22-cr-00015-APM Document 389 Filed 11/08/22 Page 3 of 4




from the Court.

       The government asks the Court to take these steps because of the substantial security and

health concerns triggered by the premature leak of Mr. McWhirter’s status as a CHS. Even prior

to this disclosure to the NY Times, Mr. McWhirter conveyed to the government tremendous

anxiety about his status as a confidential informant being publicly revealed. Yesterday, Mr.

McWhirter suffered medical distress upon boarding a plane to travel to Washington, DC, to testify

for the defense, and was thereafter hospitalized. Security concerns formed part of the basis for the

Court’s granting the government’s request to disclose this information pursuant to the protective

order addendum.

       For all these reasons, the government asks this Court to inquire of defense counsel

concerning the provenance of this leak of protected information to the NY Times, and to take any

necessary steps to address violations of the protective order based on the results of this inquiry.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar Number 481052

                                       By:          /s/
                                              Kathryn L. Rakoczy
                                              Assistant United States Attorney
                                              D.C. Bar No. 994559
                                              Troy A. Edwards, Jr.
                                              Louis Manzo
                                              Jeffrey Nestler
                                              Assistant United States Attorneys
                                              U.S. Attorney’s Office for the District of Columbia
                                              601 D Street NW
                                              Washington, D.C. 20530




                                                  3
Case 1:22-cr-00015-APM Document 389 Filed 11/08/22 Page 4 of 4




                                      /s/
                            Alexandra Hughes
                            Trial Attorney
                            National Security Division,
                            United States Department of Justice
                            950 Pennsylvania Avenue NW
                            Washington, D.C. 20004




                               4
